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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

 

Case number (if known) Chapter 11

 

O Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 4/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, /nstructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Gypsum Resources Materials, LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed FDBA High Grade Gypsum, LLC

names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification XX-XXXXXXX
Number (EIN)

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

8212 Spanish Ridge, Suite 200
Las Vegas, NV 89148

 

 

 

Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Clark Location of principal assets, if different from principal
County place of business

8360 Hwy 159 Blue Diamond, NV 89004
Number, Street, City, State & ZIP Code

 

 

5. Debtor's website (URL)

 

 

6. Type of debtor H Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

0) Partnership (excluding LLP)
OO Other. Specify:

 

 

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Debtor Gypsum Resources Materials, LLC Case number (if known)

 

Name

 

7. Describe debtor's business A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

BOoooagaaog

None of the above

B. Check all that apply
DO Tax-exempt entity (as described in 26 U.S.C. §501)
01 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)

0 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

Check one:
OO Chapter 7
OO Chapter 9

a Chapter 11. Check aff that apply:

O_Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).

0 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

OO

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

0 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

0 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
OO Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

No.
0 Yes.

District When Case number

 

District When Case number

 

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

01 No

Hl yes.

Debtor Gypsum Resources, LLC Relationship Affiliate

 

District Nevada When Case number, if known

 

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor Gypsum Resources Materials, LLC
Name
11. Why is the case filed in Check all that apply:

this district?

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Case number (if known)

 

a Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

Ol Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12.

Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

HNo
0 Yes.

Why does the property need immediate attention? (Check aif that apply.)

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

CO It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

CZ It needs to be physically secured or protected from the weather.

(1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

DO Other

 

Where is the property?

Is the property insured?
O No
OvYes. Insurance agency

Contact name
Phone

 

Number, Street, City, State & ZIP Code

 

 

 

 

| | Statistical and administrative information

13.

Debtor's estimation of
available funds

Check one:

@ Funds will be available for distribution to unsecured creditors.

DO After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimated number of D0 1-49 1 1,000-5,000 1 25,001-50,000
creditors 0 50-99 0 5001-10,000 C1 50,001-100,000
0 100-199 DO 10,001-25,000 0 More than100,000
Mi 200-999
15. Estimated Assets 1 $0 - $50,000 1 $1,000,001 - $10 million 1 $500,000,001 - $1 billion

C1 $50,001 - $100,000
0 $100,001 - $500,000
01 $500,001 - $1 million

$10,000,001 - $50 million
1 $50,000,001 - $100 million
C1 $100,000,001 - $500 million

1 $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
0 More than $50 billion

 

16.

Estimated liabilities

C1 $0 - $50,000

1 $50,001 - $100,000
0 $100,001 - $500,000
01 $500,001 - $1 million

1 $1,000,001 - $10 million

Hi $10,000,001 - $50 million
1 $50,000,001 - $100 million
1 $100,000,001 - $500 million

1 $500,000,001 - $1 billion

OD $1 ,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
0 More than $50 billion

 

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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Debtor Gypsum Resources Materials, LLC

Name

 

| | Request for Relief, Declaration, and Signatures

Case number (if known)

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature

of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

representative of debtor

| have been authorized to file this petition on behaif of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

{ declare under penaity of perjury that the foregoing is true and correct.

Executed on July 26,2019 26, 2019
“MREDDT YY

a

Signature of rized P22 of debtor
Title Mahager of Gypsum Resources, LLC

 

James M. Rhodes, President of Truckee
Springs Holdings, LLC
Printed name

 

Y
18. Signature of attorney x A eS ad

ie of fata ORSbo

Brett A. Axelrod 5859
Printed name

Fox Rothschild LLP
Firm name

1980 Festival Plaza Drive, Suite 700
Las Vegas, NV 89135
Number, Street, City, State & ZIP Code

Contact phone (702) 262-6899 Email address

5859 NV
Bar number and State

Date July 26, 2019

 

MM /DD/YYYY

baxelrod@foxrothschild.com

 

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GYPSUM RESOURCES MATERIALS, LLC
ACTION BY WRITTEN CONSENT OF THE MANAGER

IT IS RESOLVED that in the judgment of the Manager, it is desirable and in the
best interests of GYPSUM RESOURCES MATERIALS, LLC, a Nevada limited liability
company (the “Company’”), that the Company commence a chapter 11 case (the “Chapter
11 Case”) by filing a voluntary petition for relief under the provisions of chapter 11 of
title 11, of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Nevada (the “Bankruptcy Court”); and it is

FURTHER RESOLVED that the Manager of the Company or any other duly
authorized officer or officers (the “Proper Officers”) of the Company are hereby
authorized and empowered to execute and verify or certify on behalf of, and in the name
of, the Company, a voluntary petition for relief under chapter 11 of the Bankruptcy Code
and to cause appropriate documents to be filed in the United States Bankruptcy Court for
the District of Nevada, and any affidavits, forms, schedules, lists, applications or any
other pleadings or documents which are necessary or appropriate to file the voluntary
petition; and it is

FURTHER RESOLVED that the Proper Officers of the Company be, and they
hereby are, authorized and empowered to execute on behalf of, and in the name of, the
Company any and all plans of reorganization under chapter 11 of the Bankruptcy Code,
including any and all modifications, supplements, and amendments thereto, and to cause
the same to be filed in the United States Bankruptcy Court for the District of Nevada at
such time as said authorized officer executing the same shall determine; and it is

FURTHER RESOLVED that in connection with the commencement of the
chapter 11 case by the Company, the Proper Officers of the Company be and hereby are,
authorized and empowered on behalf of, and in the name of, the Company to execute and
file all first-day pleadings and related documents on such terms and conditions as such
officer or officers executing the same may consider necessary, proper or desirable, such
determination to be conclusively evidenced by such execution or the taking of such
action, and to consummate the transactions contemplated by such agreements or
instruments on behalf of the Company; and it is

FURTHER RESOLVED that the law firm of Fox Rothschild, LLP, is hereby
employed as general bankruptcy counsel for the Company upon such terms and
conditions as the Proper Officers shall approve, to render legal services to, and to
represent, the Company in connection with the chapter 11 case, subject to Bankruptcy
Court approval, and in connection therewith, the Proper Officers of the Company are
hereby authorized and directed to execute appropriate retention agreements and pay
appropriate retainers prior to and immediately upon the filing of the chapter 11 case and
cause to be filed with the Bankruptcy Court an appropriate application for authority to
retain the services of such firm; and it is

FURTHER RESOLVED that the Proper Officers of the Company are hereby
authorized to employ and retain on behalf of the Company such other professionals as

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they deem necessary or appropriate upon such terms and conditions as the Proper
Officers shall approve, to provide services to the Company as may be requested by the
Property Officers of the Company in connection with the chapter 11 case and with
respect to other related matters, with a view to the successful prosecution of such case;
and it is

FURTHER RESOLVED that the Proper Officers of the Company be, and they
hereby are, authorized and empowered to obtain post-petition financing according to
terms negotiated, or to be negotiated, by management of the Company, including under
debtor-in-possession credit facilities or relating to the use of cash collateral, and to enter
into any guarantees and to pledge or grant liens on its assets as may be contemplated by
or required under the terms of such post-petition financing or cash collateral agreements,
and in connection therewith, such affairs of the Company, are hereby authorized and
directed to execute appropriate loan agreements, cash collateral agreements, and related
ancillary documents; and it is

FURTHER RESOLVED that the Proper Officers of the Company are authorized
and directed to take any and all further action, and to execute and deliver in the name of,
and on behalf of, the Company, any and all such other and further instruments and
documents and to pay all such expenses (subject to Bankruptcy Court approval), where
necessary or appropriate in order to carry out fully the intent and accomplish the purposes
of the resolutions adopted herein; and it is

FURTHER RESOLVED that all acts lawfully done or actions lawfully taken by
the Proper Officers or the Manager of the Company to file the voluntary petition for relief
under chapter 11 of the Bankruptcy Code or in any other connection with the chapter 11
case of the Company, or any matter related thereto, or by virtue of these resolutions be,
and hereby are, in all respects ratified, confirmed, and approved.

IN WITNESS WHEREOF, the undersigned has signed this Written Consent as of
this 15" day of July 2019.

GYPSUM RESOURCES, LLC,
a Nevada limited liability company

By: — Truckee Springs Holdings, Inc.,

a Nevada corporation
Its: | Manager

By: 0 yn fh~

Jamey MI. Rhodes, President

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